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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

BRIAN DAVID VAN KIRK and
JACQUELINE M. VAN KIRK,                     2:20-CV-11761-TGB-DRG


                  Plaintiffs,
      vs.


BUFFY JO WELDON,


                  Defendant.

                                JUDGMENT
     IT IS ORDERED that the case is DIMISSED WITHOUT

PREJUDICE.
     Dated at Detroit, Michigan, this 27th day of October, 2021.

                                        KINIKIA ESSIX
                                        CLERK OF THE COURT


                                        s/A. Chubb
                                        Case Manager and Deputy Clerk
APPROVED:


s/Terrence G. Berg
HON. TERRENCE G. BERG
UNITED STATES DISTRICT JUDGE
